               Case 2:12-cv-05129-CJC-RNB Document 34 Filed 01/21/14 Page 1 of 2 Page ID #:159



                            1    MARC J. SCHNEIDER, SBN 214609                      JOSH KREVITT
                                 (mschneider@sycr.com)                              (SBN # 208552)
                            2    YURI MIKULKA, SBN 185926                           JASON LO
                                 (ymikulka@sycr.com)                                (SBN #219030)
                            3    SARAH S. BROOKS, SBN 266292                        RAYMOND LAMAGNA
                                 (sbrooks@sycr.com)                                 (SBN #244821)
                            4    STRADLING YOCCA CARLSON & RAUTH                    GIBSON, DUNN &
                                 660 Newport Center Drive, Suite 1600               CRUTCHER LLP
                            5    Newport Beach, CA 92660-6422                       333 South Grand Avenue
                                 Telephone: (949) 725-4000                          Los Angeles, CA 90071-3197
                            6    Facsimile: (949) 725-4100                          Telephone: 213.229.7000
                                                                                    Facsimile: 213.229.7520
                            7    JONATHAN T. SUDER (Pro Hac Vice Pending)           jlo@gibsondunn.com
                                 (jts@fsclaw.com)                                   rlamagna@gibsondunn.com
                            8    CORBY R. VOWELL (Pro Hac Vice Pending)
                                 (vowell@fsclaw.com)                                Attorneys for Defendant
                            9    FRIEDMAN, SUDER & COOKE                            VIACOM, INC.
                                 Tindall Square  Warehouse No. 1
                            10   604 East 4th Street, Suite 200
                                 Fort Worth, Texas 76102
                            11   Telephone: (817) 334-0400
                                 Facsimile: (817) 334-0401
                            12
                                 Attorneys for Plaintiff
                            13   INTERTAINER, INC.
                            14
                                                           UNITED STATES DISTRICT COURT
                            15
                                                         CENTRAL DISTRICT OF CALIFORNIA
                            16
                                 INTERTAINER, INC.,                    CASE NO. 2:12-cv-05129 CJC (RNBx)
                            17
                                                         Plaintiff,    Assigned for purposes to:
                            18
                                                         vs.           Hon. Cormac J. Carney
                            19
                                 VIACOM, INC.,                         ORDER GRANTING JOINT
                            20                                         STIPULATION TO DISMISS
                                                         Defendant.
                            21                                         Complaint Filed: June 13, 2012
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   N E W P O R T B E AC H
                                                    ORDER GRANTING JOINT STIPULATION TO DISMISS
                                 LITIOC/2087761v1/102166-0003
Case 2:12-cv-05129-CJC-RNB Document 34 Filed 01/21/14 Page 2 of 2 Page ID #:160



    1           Plaintiff Intertainer, Inc. (“Intertainer”) and Defendant Viacom, Inc.
    2   (“Viacom”) have announced to the Court that they have settled their respective
    3   claims for relief asserted in this case and have jointly requested that the case be
    4   dismissed with prejudice. The Court, having considered this request, is of the
    5   opinion that their request for dismissal should be GRANTED.
    6           IT IS THEREFORE ORDERED that the above-entitled cause and all claims
    7   against Viacom by Intertainer and against Intertainer by Viacom herein are
    8   dismissed, with prejudice to the re-filing of same.
    9           IT IS FURTHER ORDERED that all attorneys’ fees, costs of court and
  10    expenses shall be borne by each party incurring the same.
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  12                                         Signed this 21st day of January, 2014.
  13
  14                                         _________________________________
  15                                         HONORABLE CORMAC J. CARNEY
  16                                         UNITED STATES DISTRICT JUDGE
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                                   ORDER GRANTING JOINT STIPULATION TO DISMISS

        LITIOC/2087761v1/102166-0003
